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 4                               UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6                                                 ***
 7   SHIRLEY MARIE HAMPTON,                               Case No. 2:20-cv-00456-KJD-NJK
 8                                           Plaintiff,                     ORDER
 9          v.
10   DEPARTMENT OF HEALTH AND HUMAN
     SERVICES, et al.,
11
                                          Defendants.
12
            Presently before the Court is Plaintiff’s Motion to Dismiss (#59) her complaint.
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     Defendants filed Non-opposition (#61) to Plaintiff’s motion. Plaintiff had been ordered by the
14
     Court to file an amended complaint or face dismissal of her action.
15
            THEREFORE, in accordance with Federal Rule of Civil Procedure 41, Plaintiff’s Motion
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     to Dismiss (#59) is GRANTED;
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            IT IS FURTHER ORDERED that Plaintiff’s complaint is DISMISSED without
18
     prejudice.
19
            DATED this 11th day of January 2021.
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22                                                           The Honorable Kent J. Dawson
                                                             United States District Judge
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